  Case: 1:15-cv-02648 Document #: 177-1 Filed: 07/24/20 Page 1 of 2 PageID #:2045




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Manuel Barrios, Brandon Fuller, and                   )
Savannah Washington individually and as               )       No.: 15 cv 2648
representatives of all similarly situated persons,    )
                                                      )       The Honorable Joan B. Gottschall
               Plaintiffs,                            )
                                                      )
       v.                                             )
                                                      )
The City of Chicago,                                  )
                                                      )
               Defendant.                             )

                                      NOTICE OF FILING

To:    Alan T. Slagel, Jonathan B. Amarilio, Anne Louise Yonover, Taft Stettinius & Hollister
       LLP, 111 East Wacker Drive, Suite 2800, Chicago, IL 60601 aslagel@taftlaw.com
       jamarilio@taftlaw.com ayonover@taftlaw.com

       Tara D. Kennedy, City of Chicago Department of Law, 30 N. Lasalle Street, Suite 1230,
       Chicago, IL 60602 tara.kennedy@cityofchicago.org

       YOU ARE HEREBY NOTIFIED that on July 24, 2020, Plaintiffs caused to be filed with
the Clerk of the United States District Court for the Northern District of Illinois, Eastern Division,
a copy of the City of Chicago’s ordinance approving proposed settlement, a copy of has been
served upon you by the Court’s ECF system.

Dated: July 24, 2020                           By:    /s/ Edward R. Moor

Edward R. Moor
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Chicago, Illinois 60602
312-726-6207
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  Case: 1:15-cv-02648 Document #: 177-1 Filed: 07/24/20 Page 2 of 2 PageID #:2046




                CERTIFICATE OF SERVICE BY ELECTRONIC MEANS

      I, Edward R. Moor, certify that on July 24, 2020, service of this Notice and the referenced
documents was accomplished pursuant to ECF as to Filing Users and I also certify that I shall
comply with LR 5.5 as to any party who is not a Filing User or represented by a Filing User.

                                                    /s/ Edward R. Moor




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